
		
				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2023 OK 65Case Number: SCBD-7491Decided: 06/12/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 65, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

&nbsp;


&nbsp;


IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2023 DUES



ORDER OF SUSPENSION FOR NONPAYMENT OF DUES



On May 25, 2023, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to pay dues for the year 2023 as required by the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §1. The Board of Governors recommended that the members whose names appear on the Exhibit A attached to the Application be suspended from membership in the Oklahoma Bar Association and from the practice of law in the State of Oklahoma, as provided by the Rules, 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2.

This Court finds that on April 15, 2023, the Executive Director of the Oklahoma Bar Association notified by certified mail all members delinquent in the payment of dues and/or expense charges to the Oklahoma Bar Association for the year 2023. The Board of Governors have determined that the members set forth in Exhibit A, attached hereto, have not paid their dues and/or expense charges for the year as provided in the Rules.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from the Oklahoma Bar Association membership and shall not practice law in the State of Oklahoma until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2023 as required by the Rules Creating and Controlling the Oklahoma Bar Association.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 12TH DAY OF JUNE, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


&nbsp;


&nbsp;

&nbsp;

OBA # 33463
Brooke Lindsay Ballard
313 Terrell Ave
Bremerton, WA 98312-3719

OBA # 30192
Elise Schuller Barajas
1601 Elm St Ste 4600
Dallas, TX 75201-7212

OBA # 35287
Rhett Wayne Bartlett
300 W 15th St
Austin, TX 78701

OBA # 31923
Edward Joseph Batis Jr.
3 Serena
San Antonio, TX 78248-2440

OBA # 20028
David James Bedford
925 NW 6th St
Oklahoma City, OK 73106-7242

OBA # 675
Thomas Prade Bellamy
PO Box 553
Blair, OK 73526-0553

OBA # 22492
Katherine Lindsay Bendick
1901 Churchill Way
Oklahoma City, OK 73120-1149

OBA # 22065
Amber Jean Bighorse
2301 N Narrows Dr.
Tacoma, WA 98406-1622

OBA # 32177
Staci Deborah Cassidy
5080 Spectrum Drive
1020 W Addison
Addison, TX 75001

OBA # 10460
Elizabeth Riley Castleberry
3813 Woodshadow Rd
Edmond, OK 73003-3046

OBA # 1675
Mark D. Christiansen
6208 Waterford Blvd Apt 100
Oklahoma City, OK 73118-1113

OBA # 35097
Jacob Nicholas Denne
1320 12th Ave SE Unit 2204
Norman, OK 73071-2560

OBA # 14070
Glenna S. Dorris
Legal Aid Services of OK
3851 Tuxedo Blvd Ste E
Bartlesville, OK 74006-2519

OBA # 22935
Peter Gay Estes III
PO Box 3883
Fayetteville, AR 72702-3883

OBA # 20052
Kevin D. Etherington
Payne County District Attorney's Office
606 S. Husband, Room 111
Stillwater, OK 74074-4044

OBA # 20200
Geoffrey Allan Evans
7335 Musselburgh Dr
Frisco, TX 75036-1057

OBA # 34660
Degol Tseggai Gherezghiher
2341 NW 198th St
Edmond, OK 73012-5220

OBA # 32782
Clare Glynis Gibbons
4000 One Williams Ctr
Tulsa, OK 74172-0148

OBA # 19466
Raphael Thomas Glapion
433 N Air Depot Blvd Apt 7
Midwest City, OK 73110-1722

OBA # 18068
Todd Brian Gollihare
18778 S 257th West Ave
Bristow, OK 74010-2233

OBA # 33354
Jordan Lee Harmon
1135 S Birmingham Pl
Tulsa, OK 74104-3926

OBA # 4184
Curley Higgins
420 S Lawton Ave Apt 517
Tulsa, OK 74127-8929

OBA # 14351
Robert Earl Jones Jr.
1819 Rolling Hills St
Norman, OK 73072-6707

OBA # 11125
Theodore Koss Jr.
10604 Admiral Dr
Oklahoma City, OK 73162-6806

OBA # 5240
John V. Larence
PO Box 58113
Louisville, KY 40268-0113

OBA # 12788
Kathryn D. Mansell
7500 E Britton Rd
Oklahoma City, OK 73151-9424

OBA # 30158
Jobby Chathanattu Mathew
6031 Connection Dr
Irving, TX 75039-2613

OBA # 21985
David Norris Mayo
2301 N Narrows Dr
Tacoma, WA 98406-1622

OBA # 14274
Sheryl Diane McCoy-Strowbridge
4325 Rob Ln
Joplin, MO 64804-5357

OBA # 12400
Donna Dee McLain
1301 N McKinley Ave
Sand Springs, OK 74063-7729

OBA # 32831
Matthew Ryan McRorie
4640 Olde Village Cir
Edmond, OK 73013-4767

OBA # 20287
Robbin Raye Miranda
2700 NW 154th St
Edmond, OK 73013-8808

OBA # 6463
Logan Vansen Moss
126 Senora Ct
Saint Augustine, FL 32095-4838

OBA # 10420
Steven Gordon Nash
4901 Richmond Sq Ste 104
Oklahoma City, OK 73118-2000

OBA # 10422
Sue Ann Nicely
4624 NW 58th St
Oklahoma City, OK 73122-7706

OBA # 10431
Gary L. Parrish
10300 Greenbriar Pl
Oklahoma City, OK 73159-7653

OBA # 21462
Tamara Schiffner Pullin
1 Firstcomm Plz
Fort Worth, TX 76109-4978

OBA # 13339
Michael Christopher Radmilovich
4922 E 38th Pl
Tulsa, OK 74135-5529

OBA # 20829
Casey Lee Saunders
PO Box 2318
Ada, OK 74821-2318

OBA # 13771
Michele Lynn Schultz
211 W Main St
Weatherford, OK 73096-4838

OBA # 15951
Esther Elaine Scott
PO Box 815
Healdton, OK 73438-0815

OBA # 8178
Clifford Byron Shilling
109 S West St Apt 6
Stillwater, OK 74074-3037

OBA # 18837
anell Lynn Smalts
10301 Sedge Grass Way
Highlands Ranch, CO 80129-6675

OBA # 30258
Ryan Houston Smith
3620 Meadow Lark Ln
Oklahoma City, OK 73120-8935

OBA # 10973
Cliff A. Stark
10004 S Louisville Ave
Tulsa, OK 74137-5221

OBA # 20547
Debra Stump
18239 Canyon Forest Ct
Chesterfield, MO 63005-1441

&nbsp;

&nbsp;





